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  8                           UNITED STATES DISTRICT COURT
  9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10
 11   DAWN MARIE WOODRUM                             CASE No.: 8: 17-cv-02264-DOC-AS
 12
                          Plaintiff,                 PLAINTIFF ' S NOTICE OF            AND
 13                                                  MOTION FOR REMAND
                   vs.
 14                                                  D.ate: February 26,2018
                                                     T1me: 8:30 a.m.
 15 AUTOMATIC DATA PROCESSING,                       Dept.: 9D
    INC., a corporation; ADP, LLC a
 16 corporation, LYLE BURLEY, an individual,         November 6, 2017
    and Does 1 through 10, inclusive,
 17
                            Defendants.
 18
 19
 20         TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF
 21   RECORD HEREIN:
 22         PLEASE TAKE NOTICE that on February 26, 2018, at 8:30a.m., or as soon
 23 thereafter as counsel may be heard before the Honorable Judge David 0. Carter, in
 24 Comiroom 9D of the United States Courthouse, located at 411 West Fomih Street,
 25   Santa Ana, California, Plaintiff will move the court for an Order pursuant to 28 U.S .C.
 26   § 1447(c), 28 U.S.C. § 1441(b)(2), and 28 U.S.C. §1332 remanding this case to State
 27 Comi.
 28 Ill


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   1         Good cause exists for the relief requested in that removal based on diversity
  2 jurisdiction by the Defendants was improper because Plaintiff has properly stated claims
  3 of Disability Harassment, Defamation, and Intentional Infliction of Emotional Distress
  4 against Lyle Burley, who has been served and is a citizen of the state of California.
  5          As explained below, Defendant cannot prove by clear and convincing evidence
  6 that there is no possibility that the plaintiff will be able to establish a cause of action
  7 against the in-state defendant, Mr. Burley.
  8          This Motion is based upon this Notice ofMotion, the accompanying Memorandum
  9 of Points and Authorities, the declaration of Jeffrey A. Rager, all pleadings and papers
 10 on file in this action, and upon such others matters as may be presented to the Court at
 11    the time of the hearing.
 12
 13 Dated: January 19,2018
 14
 15
                                       By:
 16                                           e rey . ager
                                             James Y. Yoon
 17                                          Attornexs for Pl ·ntiff,
                                             DAWN MARIE WOODRUM
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  6 Fisher v. San Pedro Peninsula Hasp. 214 Cal.App.3d 590,618 (1989) ... . ... . . 15
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 11    Larive v. Willitt, 154 Cal.App.2d 140, 141-142 (1957) . .. ...... . .... ........ 10
 12 Miller v. Department of Corrections, 36 Cal.4th 446 (2005) ........... 5, 6, 15, 16
 13 Reno v. Baird, (1998) 18 Cal.4th 640             . .. ......... . ... .. . ......... . . .. .. 5, 6
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 15 Roby v. McKesson, 47 Cal.4th 686,705-706 (2009) .... .. ... .. ..... . ... . 5, 6, 7
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 17    Wallis v. Superior Court, 160 Cal.App.3d 1109, 1120 (1984) ...... .. .. . ... .. 16
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 19    White v. Ultramar, 21 Cal.4th 563 (1999) ......... ..... ... . . ... .... ...... 13
 20    Williams v. Daily Review, Inc., 236 Cal.App.2d 405, 411 (1965) . . . . . . . . . . . . . . 10
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  6 Green v. Amerada Hess Corp., 707 F.2d 201, 205 (5th Cir. 1983) . ............ . . 3
  7 Hamilton Materials Inc. v. Dow Chemical Corporation, 494 F.3d 1203 ,
  8         1206 (9th Cir. 2007) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
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  8 Sullivan v. First Affiliated Securities, Inc., 813 F.2d 1368,
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 10    Umamoto v. Insphere Insurance Solutions, Inc. , 2013 WL 2084475
 11            (N.D.Cal. May 14, 2013) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
 12    Webber v. Nike USA, Inc., 2012 WL 4845549 (S.D.Cal. Oct. 9, 2012) .. . .. . 11, 14
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 26 Prosser, Torts (2d ed.) p.787 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
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   1 I.        Procedural Posture.
   2           On November 6, 2017, Dawn Marie Woodrum filed the instant complaint in
   3 Orange County before the Honorable Sheila Fell. ADP, Inc., ADP, LLC, and Lyle
   4 Burley were all served with the Complaint on December 5, 2017. Declaration of Jeffrey
   5 A. Rager, p. 2, ~ 2, 11. 7-9.
   6           On December 28, 2017, Defendants served a Notice of Removal, which was
   7 received on January 3, 2018. Declaration of Jeffrey A. Rager, p. 2, ~ 3 11. 10-11.
   8 II.       Introduction to Case.
   9           Dawn Marie Woodrum worked for ADP in excess of 18 years. She received
  10 consistently good reviews through June 30, 2016.       Complaint, ~~   8-25, 47.
  11           In November 2016, Ms. Woodrum underwent a nerve study for numbness and
  12 tingling in her left arm. She was diagnosed with carpal tunnel in the left arm. She
  13   concunently filed a Workers' Compensation Claim.       Complaint,~    26.
  14           On November 28, 2016, Ms. Woodrum returned to her physician after work hours.
  15   She was instructed to undergo physical therapy. Ms. Woodrum explained to Human
  16 Resources that she had a carpal tunnel issue in the left arm. Human Resources told Ms.
  17 Woodrum that physical therapy would have to be done on non-work hours. Complaint,
  18   ~   27. In other words, they were refusing to accommodate time off for physical therapy.
  19           On March 7, 2017, Ms. Woodrum underwent carpal tunnel surgery. She was out
 20 of work from March 8, 2017 through May 22, 201 7. She was not offered leave under
 21    CFRA nor was her time designated as such.      Complaint, ~   32.
 22            On May 16, 2017, Ms. Woodrum was released to work effective May 22, 2017
 23    with the restrictions of30 minute productive break from typing for 30 minutes per hour,
 24 and no lifting over 5 pounds. Complaint, ~ 33. These were return to work restrictions
 25    provided by Dr. PetTy Secor. (A true and cotTect copy of the Physician Work Activity
 26 Status Report to Employer, are attached as Exhibit A to the declaration of Jeffrey A.
 27 Rager filed concunently herewith.)
 28 ///


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   1         On May 22, 2017, Ms. Woodrum returned to work. She worked for two hours.
  2 Her supervisor, Lyle Burley, said she would have to leave because the employer had not
   3 approved her return to work. He walked her out of the facility, and said that he would
  4 let her know when her return to work was approved. Complaint, ,-r 34. In other words,
   5 Mr. Burley kicked her off the premises after she had been working with disability
   6 restrictions for almost a week.
   7         On May 23, 2017, Mr. Burley continued his harassment by refusing to allow her
   8 to retum to work with physician-approved restrictions. Complaint, ~ 3 5.
   9         Again, the following day, Mr. Burley refused to allow Ms. Woodrum to work with
  10 her restrictions. Complaint, ,-r 36.
 11          From May 24, 2017 through July 25, 2017, Ms. Woodrum continued to attempt
  12 to retmn to work Not only was she not permitted to return to work, she received a
 13    COBRA notice associated with termination. Complaint, ,-r,-r 36-39. (See June 13, 2017
 14 and June 27, 2017 Physician Work Activity Status Reports to Employer, attached as
 15 Exhibit A to the declaration of Jeffrey A. Rager filed concurrently herewith.)
 16          On July 25, 2017, Ms. Woodrum's restrictions were reduced to a 5-minute break
  17 for every hour of work.   Complaint,~   40. (See July 25, 2017 Physician Work Activity
  18 Status Reports to Employer, attached as Exhibit A to the declaration of Jeffrey A. Rager
 19 filed concurrently herewith.)
 20          On July 26,2017, Ms. Woodrum called Lyle Burley, and left a voicemail inquiring
 21    whether she would be allowed to return to work. Complaint, ~ 41.
 22          On July 26, 2017, Lyle Burley refused to allow Ms. Woodrum to return to work
 23    with even the reduced restrictions. Complaint, ,-r 42. These were return to work
 24 restrictions provided by Dr. Perry Secor.
 25          On July 27,2017, Ms. Woodrum called back Mr. Burley, and left him a voicemail.
 26 Complaint, ,-r 44.
 27          Lyle Burley responded by telling her that she no longer had a job.   Complaint,~

 28 45.


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   1          As a result of the aforementioned conduct, Plaintiff alleged the following claims
   2 against Mr. Burley: 71h cause of action for Disability Harassment, 9111 cause of action for
   3 Defamation and 10 111 cause of action for Intentional Infliction of Emotional Distress.
   4   III.   Defendant must prove by clear and convincing evidence that there is no
   5          possibility that a cause of action can be stated against the Individual
   6          Defendant, Lyle Burley.
   7          Cowts strictly construe the removal statute against removal jurisdiction. Sullivan
   8 v. First Affiliated Securities) Inc., 813 F.2d 1368, 1371 (9th Cir. 1987), cett. denied, 484
   9 U.S. 850. Even though Plaintiff brings this motion, Defendants bear the burden of
  10 demonstrating to the Cowt that it has subject matter jurisdiction due to the existence of
  11   diversity. Gatts v. Miles Inc.) 980 F .2d 564, 566 (9 1h Cir. 1992).
  12          Here, Defendants removed the action pursuant to 28 U.S.C. §1441 (b), which
  13 permits the removal under this Comt's diversity jurisdiction. 28 U.S.C. § 1332.
  14 Generally, "[t]he presence of the nondiverse patty automatically destroys original
  15   [subject matter] jurisdiction." Wis. Dept. Of Corrections v. Schacht, 524 U.S. 381, 389
  16 ( 1998). The standards reflect the "general presumption against fraudulent joinder" that
  17 complements the "strong presumption against removal jurisdiction." See Hunter v.
  18 Philip Morris USA, 582 F. 3d 1039, 1046 (9 111 Cir. 2009). But if the defendant is not
  19 fraudulently joined, the case should be remanded to state comt pursuant to 28 U.S.C.
 20    §1447(c); See Hunter, 582 F. 3d at 1048.
 21           The burden of proving a fraudulent joinder is a heavy one. The removing patty
 22 must prove by clear and convincing evidence that either there has been outright fraud
 23    committed in the plaintiff's pleadings or that there is absolutely no possibility that the
 24 plaintiff will be able to establish a cause of action against the in-state defendant in state
 25    court. Green v. Amerada Hess Corp., 707 F.2d 201, 205 (5th Cir. 1983); Hamilton
 26 Materials Inc. v. Dow Chemical Corporation, 494 F.3d 1203, 1206 (9th Cir. 2007). As
 27    long as there is a "non-fanciful possibility that plaintiff can state a claim under [state]
 28    law against the non-diverse defendant[,] the court must remand." Good v. Prudential,


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   1 4 F. Supp. 2d 804, 807 (N.D. Cal. 1998). "Merely showing that an action is likely to be
   2 dismissed against a defendant does not demonstrate fraudulent joinder. Rather, it must
   3 appear to 'a near certainty' that joinder was fraudulent." Amarant v. Home Depot U S.A.,
   4 Inc. , 2013 WL 3146809, *6 (E.D. Cal. June 18, 2013).
   5         Here, it is clear that an individual is liable under California law for harassment,
   6 defamation, and intentional infliction of emotional distress. Below, Plaintiff will explain
   7 how the aforementioned allegations in the Complaint harmonize with the controlling
   8 case law on each of the claims.
   9         To the extent there is doubt regarding the adequacy of all three claims, all
  10 inferences should be construed in favor of remand.
  11         "All doubts concerning the sufficiency of a cause of action because of inartful,
  12 ambiguous or technically defective pleading must be resolved in favor of remand, and
  13   a lack of clear precedent does not render the joinder fraudulent." PZ.ute v. Roadway
  14 Package System, Inc., 141 F. Supp. 2d at 1008 (N.D. Cal. 2001) (quoting Archuleta v.
  15 American Airlines, Inc., Case No. 00-1 286 MMM, 2000 WL 656808, *4 (C.D. Cal. May
  16   12, 2000) (citing Gaus, 980 F.2d at 566-567); see also Natick v. Merck & Co., Inc. ,
  17 SACV 10-1672 DOC, 2011 WL 87000,            * 2 (C.D. Cal.   Jan. 4, 2011) ("Any disputed
  18 factual issues, ambiguities in state law or doubts arising from inartful, ambiguous or
  19 technically defective pleading must be resolved in favor of remand.")
  20         In other words, if doubts exist regarding the adequacy of the pleadings, Defendant
  21   should be required to file a demuner in State Superior Court, and Plaintiff should be
  22 given the oppmiunity to oppose it, with the option of filing an amended pleading.
  23         Relative to the instant motion, in determining whether joinder of a defendant is
  24 fraudulent or a sham, the comi must resolve "all disputed questions of fact and all
  25 ambiguities in the controlling state law" in favor of the non-removing party. Calero v.
  26   Unisys Corp., 271 F.Supp.2d 1172, 1176-77 (N.D. Cal. 2003); see also Maceyv. Allstate
  27 Property and Cas. Ins. Co., 220 F .Supp.2d 1116, 1117 (N.D. Cal.2002); Mohammed v.
  28   Watson Pharmaceuticals Inc., Case No. 09-0079 DOC, 2009 WL 857517, *6 (C. D. Cal.


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   1 Mar. 26, 2009) ("district courts must not pretry substantive factual issues in order to
   2 answer the discrete threshold question of whether the joinder of an in-state defendant is
   3 fraudulent") (internal quotation marks and citations omitted).
   4 IV.     Defendants rely upon the outdated discrimination cases of Reno and Janken
   5         in their Removal Notice. Current California caselaw ma){es it clear that
   6         ongoing discriminatory conduct is evidence that supports a harassment claim.
   7         The more recent California Supreme Court cases of Miller and Roby
   8         articulate the controlling law.
   9         Notably, Janken v. GM Hughes Electronics, Cal.App.4th 55 (1996) 46 and Reno
  10 v. Baird, (1998) 18 Cal. 4th 640 stand for the proposition that an individual cannot be
  11   held liable for discrimination, but they can for harassment.
  12         Thus, if a plaintiff had a claim for disability discrimination, and a supervisor was
  13   named, they are properly dismissed from a discrimination claim.
  14         However, if both disability discrimination and harassment claims are alleged, the
  15 supervisor's discriminatory conduct can be used as evidence of an intent to harass based
  16 upon a person's disability.
  17         This common sense rule is based upon the logic that the underlying evidence on
  18 both these claims are intertwined and discriminatory actions may prove a harassing
  19 intention or message.
  20         In affirming that personnel management actions may be relied upon as evidence
  21   in suppmt ofFEHA harassment claim, Roby specifically addressed the issues raised in
  22 Reno and Janken, dismissing the holding therein as serving as any type of bar to the
  23   plaintiffs recovery. Roby v. McKesson, 47 Cal.4th 686 (2009) (" we can discern no
  24 reason why an employee who is the victim of discrimination based on some official
  25   action of the employer cannot also be the victim of harassment by a supervisor for
  26 abusive messages that create a hostile working environment, and under the FEHA the
  27 employee would have two separate claims of injury." !d. at 707.
  28 Ill


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   1         As stated in Roby v. McKesson Corp., 47 Cal.4th at 705-706, "The FEHA's
   2 distinction between discrimination and harassment does not mean that harassment claims
   3 are relegated to a lower status.       The FEHA does not differentiate in terms of
   4 wrongfulness between discrimination and harassment; both are 'unlawful employment
   5 practice[s]' (§ 12940), and in both cases an aggrieved employee can obtain full
   6 compensation for any resulting injury. In addition, we can discern no reason why an
   7 employee who is the victim of discrimination based on some official action of the
   8 employer cannot also be the victim .of harassment by a supervisor for abusive messages
   9 that create a hostile working environment, and under the FEHA the employee would
  10 have two separate claims of injury. Roby, 47 Cal. 4th at 762.
  11         Roby proceeded to harmonize prior decisions regarding the interplay of harassment
  12 and discrimination cases including Reno and Miller v. Department of Corrections, 36
  13 Cal.4th 446 (2005). "Our decision in Miller, supra, 36 Cal. 4th at pages 460-466, further
  14 clarifies the FEHAus distinction between discrimination and harassment. Although
  15 discrimination and harassment are separate wrongs, they are sometimes closely
  16 interrelated, and even overlapping, particularly with regard to proof." Ibid.
  17         "Thus, in Miller the immediate source of the plaintiffs' alleged injuries was the
  18 offensive sex-biased message that the supervisor conveyed, not a demotion or an
  19 unfavorable job assignment, and therefore the plaintiffs' cause of action was for
  20 harassment, not for discrimination.        Nevertheless, official employment actions
  21   constituted the evidentiary basis of the harassment cause of action, because the
  22 · supervisor used those official actions as his means of conveying his offensive message.
  23   Our decision in Miller is wholly consistent with Reno, supra, 18 Cal. 4th at pages 645-
  24 647, because it confirms that harassment is generally concerned with the message
  25   conveyed to an employee, and therefore with the social environment of the workplace,
  26 whereas discrimination is concerned with explicit changes in the terms or conditions of
  27 employment. Miller, however, makes clear that in some cases the hostile message that
  28 constitutes the harassment is conveyed through official employment actions, and


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   1 therefore evidence that would otherwise be associated with a discrimination claim can
   2 form the basis of a harassment claim. Roby, 47 Cal. 4th at 762-763; See Landucci v. State
   3 Farm Insurance Company, 65 F.Supp.3d 694, 706-707 (N.D. Cal. 2014) (Denying
   4 defendant's motion to dismiss and stating "Roby makes clear that official employment
   5 actions may be considered when evaluating a harassment claim if the conduct contributes
   6 to communicating the hostile and harassing message of the supervisor"); see accord
   7 Niamiv. Federal Express Print Services, Inc., 2010 WL 958045 *4-5 (N.D. Cal. 2010)
   8 (Comi granting plaintiffs motion to remand to state court and concluding that the
   9 personnel decisions made by defendant could be construed as harassing conduct.)
  10         In Roby, the plaintiff had an anxiety disorder. The medicine she took, and her
  11   nervousness caused her body odor and sores. Her supervisor commented on the odor and
  12 the sores, but not necessarily in the context of her disability. He gave her progressive
  13 disciplinary warnings and fired her. The Comi held these adverse employment actions
  14 were conduct that supported the harassment claim. I d. at 708-709.
  15         Here, after escorting Ms. Woodrum offDefendant' s premises after she requested
  16 accommodations, Lyle Burley repeatedly denied and stymied all her ongoing
  17 accommodation requests in the months that followed. He then told Ms. Woodrum that
  18 she no longer had a job to return to.
  19         As explained below, these are not separate and discrete acts. They are a
  20 continuing course of conduct that forms the basis for a disability harassment claim.
  21         In Richards v. CH2M Hill, Inc., 26 Cal. 4th 798, 824 (200 1), the Court denied a
  22 new trial motion on the grounds that the multiple failures to accommodate plaintiff were
  23 sufficient to support the disability harassment and failure to accommodate claims.
  24         In Richards, the employee suffered for multiple sclerosis. She was granted a 10-
  25 month leave and a transfer request, although it was delayed. Thereafter, she was
  26 permitted to do some of her work from home, but a dispute arose over who would buy
  27 her a computer to work from home; a computer the company refused to provide. Ms.
  28 Richards then complained that there were items in the hallway at work that prevented her


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   1 from moving in the hallways; she would move them and they would get moved back.
   2 Richards also requested that nonskid tape be applied to the wheelchair ramp and the
   3 elevators be widened, amongst other accommodation requests. These requests never
   4 came to fruition. Eventually, she resigned. The Court held that such ongoing denials of
   5 accommodations over a 5-year period supported a verdict on her claims for disability
   6 harassment and failure to accommodate.
   7         In affirming the Superior Court's denial of the new trial motion, the Supreme
   8 Comt stated, "the company had engaged in a continuing pattern of harassment, neglect
   9 and a violation of her rights in tetms of accommodations, even reasonable
  10 accommodations, a pattern that continued on up until the day she left, practically." Id.
  11   at 824.
  12         Based upon the foregoing authorities, Ms. Woodrum has pled a legally viable
  13   claim against Mr. Burley. It is not fraudulent or specious. His ongoing course of
  14 conduct prevented her from returning to work when she and her physician requested
  15   accommodations for her disability. The motion to remand should be granted on this
  16   basis alone.
  17   v.    Individuals are liable for statements that they mal<e impacting an employee's
  18         occupational reputation in the worl<place. Federal Courts have recognized
  19         this by remanding cases alleging defamation against individual employees.
  20         The essence of this defamation claim is that Lyle Burley falsely accused Ms.
  21   Woodrum of not being permitted, or able, to return to work with accommodation. As
  22 such, they had no choice but to not accommodate her. In other words, it was her fault
  23   that the accommodation could not be made.   Complaint,~   133.
  24         This is factually false. Ms. Woodrum could work with accommodations, but
  25 Defendant turned the tables on Ms. Woodrum claiming that she was not permitted or able
  26 to return to work! They continue this fiction in the Removal Motion arguing that the
  27 statement was true because "Defendants had not received any paperwork to permit
  28 Plaintiffto return to work." Notice ofRemoval, p. 8, 11. 8-15.


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   1        This position contradicts the pleadings and the evidence.    Complaint,~~      33-44;
   2 Exhibit A to the Declaration of Jeffrey A. Rager.
   3        As such, this is a defamatory statement impacting her occupational reputation.
   4        Civil Code Section 46(3) specifically states that defamation per se is a comment
   5 directed at a person's occupational reputation. Washer v. Bank ofAmerica, 21 Cal.2d
   6 822, 827 (1943). Usually most defamatory criticisms ofwork performance or honesty
   7 will occur at the work place through criticism by an employer, a supervisor, fellow
   8 employees or by plaintiffs former employer. Civil Code Section 46(3) states:
   9        "Slander is a false and unprivileged publication [orally uttered] ... which:
  10        "Tends directly to injure him in respect to his office, profession, trade, or
  11        business, either by imputing to him general disqualification in those
  12        respects which the . . . occupation peculiarly requires, or by imputing
  13        something with reference to his ... profession, trade, or business that has
  14        a natural tendency to lessen its profits [or earnings].
  15        "These definitions [Civ. Code,§ 46] have been held to include almost any
  16        language which, upon its face, has a natural tendency to injure a person's
  17        reputation, either generally, or with respect to his occupation. ... " Washer
  18        v. Bank ofAmerica, 21 Cal.2d at 827. (Emphasis added.)
  19        Cameron v. Wernick, 25 1 Cal.App.2d 890, 893 (1967) also provides a helpful
  20 definition of Defamation Per Se:
  21        "The code definition of libel is very broad and has been held to include
  22        almost any language which, upon its face, has a natural tendency to injure
  23        a person's reputation, either generally, or with respect to his occupation.
  24        [Citation.] In the determination of this question, the alleged libelous
  25        publication is to be construed 'as well from the expressions used, as from
  26        the whole scope and apparent object of the writer.' [Citation omitted.] A
  27        person may be liable for what he insinuates as well as for what he says
  28        explicitly. [Citation omitted.] 'An article may be libelous on its face even


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   1         thought it is susceptible to an innocent meaning."'
   2         Numerous cases set forth below hold commonly occun·mg criticism of
   3 performance or the ability to do the j ob can be Defamation Per Se. Jensen v. Hewlett-
   4 Packard Co., 14 Cal.App.4th 958, 965 (1993).
   5         Assigning blame to a paving contract by asserting that they were responsible for
   6 the delay in the ... project," and were "incompetent" is defamatory. Williams v. Daily
   7 Review, Inc., 236 Cal.App.2d 405, 411 (1965).
   8         Likewise, accusing a school principal of not supervising students properly. This
   9 was published "with the purpose of causing the school board to discharge [plaintiff] from
  10 employment." Larive v. Will itt, 154 Cal.App.2d 140, 141-142 (1957).
  11         Further, individuals are liable for the defamation they publish:
  12         "It is of course the general rule that, in the absence of a privilege, anyone who
  13         actively participates in the publication of a false and libelous statement is liable
  14         for special, general, and even punitive damages. Moreover, it is also the general
  15         rule that every repetition of the defamation is a separate publication and hence a
  16         new and separate cause of action though the repeater states the source (Prosser,
  17         Torts (2d ed.) p.787; DiGiorgio Corp. v. Valley Labor Citizen, 260 Cal.App.2d,
  18         273 (1968).
  19         Defendants' Notice ofRemoval fails to address any of the case law that applies
  20 to claims for defamation in the context of a motion to remand. As such, we will
  21   endeavor to do so below.
  22         Sanchez v. Lane Bryant, Inc., 123 F. Supp.3d 1238, 1240 (91h Cir. 20 15) involved
  23   an employee who made various allegations against her employer, including violations
  24 of the Fair Employment and Housing Act and defamation. The cause of action for
  25 defamation named individuals.         Lane Bryant alleged that the individuals were
  26 fraudulently joined and removed the case. The complaint alleged:
  27         In August 2014, Tse fired plaintiff citing that she was a poor performer.
  28         Plaintiff disputes the claim that she was a poor performer and asserts that


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   1         she was fired because of her age.
   2         Plaintiff asserts a single claim for defamation against all defendants,
   3         including Tse. The basis for this claim is that defendants caused the
   4         publication of defamatory statement including "express and implied
   5         accusations ... that Plaintiff violated Defendant Employer's policies,
   6         expressly and impliedly that Plaintiff was a poor performer, incompetent,
   7         an unskilled store manager, was not able to perform as store manager, and
   8         not being able to speak to competencies [sic]." While the precise dates of
   9         publication of these statements are not alleged, plaintiff alleges they
  10         began on or before August 11, 20 14, and have continued thereafter.
  11         Plaintiff alleges that any investigation defendants conducted into the truth
  12         of these statements was "nonexistent and at best reckless." Plaintiff also
  13         alleges that these statements were knowingly false and that they have
  14         caused harm to her personal and professional reputations.
  15         Sanchez, 123 F.Supp.3d at 1240-1241; citations omitted.
  16         In holding that the individuals had not been fraudulently joined, the court relied
  17 on Morales v. Gruma Corporation, 2013 WL 6018040, at *6 (C.D.Cal. Nov. 12, 2013)
  18 stating, "plaintiff s allegations are sufficiently specific to raise a 'non-fanciful
  19 possibility' that plaintiff will be able to state a claim for defamation in California state
  20 court. Sanchez, 123 F.Supp.3d at 1243; citing Morales, 2013 WL 60 18040, at *4 and
  21   Webber v. Nike USA, Inc. , 2012 WL 4845549, at *6 (S.D.Cal. Oct. 9, 2012) (finding that
  22 allegation of defamation based on statement that the plaintiff was terminated for "poor
  23 performance" was sufficient to establish a "non-fanciful possibility that a California state
  24 court could conclude that Plaintiff' alleged a claim for defamation).
  25         The ruling and overall fact pattern in Sanchez is similar to that of Morales v.
  26 Gruma Corporation, 2013 WL 6018040 (C.D.Cal. Nov. 12, 2013), Johnson v. Wells
  27 Fargo & Company, 2014 WL 6475 128 (C.D. Cal. Nov. 19, 2014) and Arvizu v. Wal-
  28 Mart Stores, Inc., 2017 WL 747432 (N.D. Cal. Feb. 27, 2017).


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   1         Morales was hired in 2006. Gruma Corporation fired Morales in 201 2. Morales
   2 brought a case against Gruma Corporation alleging violations of the Fair Employment
   3 and Housing Act, the California Labor Code, and against two individuals for defamation.
   4 Morales v. Gruma Corporation, 2013 WL 6018040, *1 (C.D.Cal. Nov. 12, 2013).
   5 Defendants removed asserting fraudulent joinder. The plaintiff alleged that he was
   6 informed that he was being terminated for "3 consecutive days no call no show."
   7 Morales, WL 6018040, *2.
   8         He asserted a defamation claim against Ynez and Bolanos, two individuals,
   9 asserting:
  10         that defendants caused the publication of defamatory statements,
  11         including "expressed and implied accusations that [p ]laintiff violated
  12         company policy and/or the law, engaged in misconduct, and expressly and
  13         impliedly accusing [p ]laintiff of potential criminal activity." Plaintiff
  14         alleges that, while the precise dates of publication of these statements are
  15         not known, he believes that such publication began 'on or before October
  16         12, 2012, and continued at least through the present, ' and that the purpose
  17         of these statements was to justify plaintiffs termination. Plaintiff alleges
  18         that these statements are false, and are causing ongoing harm to his
  19         reputation. Ibid.
  20         Based on these allegations, the comi found that the case should be remanded
  21   because the defamation allegations were sufficient to defeat a claim of fraudulent
  22 joinder. In Morales v. Gruma Corporation, 2013 WL 6018040, *3 (C.D.Cal. Nov. 12,
  23   2013). The court held:
  24         Here, plaintiff alleges that all defendants, caused the publication of
  25         defamatory statements, including ' expressed and implied accusations that
  26         [p]laintiff violated company policy and/or the law, engaged in misconduct,
  27         and expressly and impliedly accusing [p]laintiff of potential criminal
  28         activity.' Plaintiff alleges that, while the precise dates of publication of these


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   1          statements are not known, he believes that such publication began 'on or
   2          before October 12, 2012, and continued at least through the present,' and that
   3          the purpose ofthese statements was to justify plaintiffs termination. Like the
   4          statement about termination "due to performance" in Umamoto, plaintiffs
   5          allegations regarding statements made by Ynez and Bolanos are sufficiently
   6          specific to raise a "nonfanciful possibility" that plaintiff can state a claim for
   7          defamation in Los Angeles Superior Comi. Morales v. Gruma Corporation,
   8          2013 WL 6018040, *4 (C.D.Cal. Nov. 12, 2013); citing Umamoto v.
   9          Insphere Insurance Solutions, Inc., 2013 WL 2084475, at *5 (N.D.Cal. May
  10          14, 2013).
  11          Here, Defendant's falsely claimed that Plaintiff could not return to work and/or
  12 did not provide the appropriate documentation to do so. These false statements were the
  13 pretext to justify the termination. The statements are demonstrably false. As such, the
  14 defamation claim is not only viable, but likely to succeed against Mr. Burley in Superior
  15 Court.
  16          Because Ms. Woodrum has stated a legally viable defamation claim against Mr.
  17 Burley, this case should be remanded to Superior Comi.
  18 VI.      Employees are liable for Intentional Infliction of Emotional Distress
  19          committed in the workforce. Defendants fail to inform the Court that the
  20          alleged "managerial privilege" only applies to claims for intentional
  21          interference with contractual relationship, which Plaintiff has not alleged.
  22          It has long been settled that individual defendants can be liable for actions causing
  23   intentional infliction of emotional distress while acting within the scope of their
  24 authority to terminate an employee. Argarwal v. Johnson, 25 Cal.3d 932,947 (1979)
  25   disapproved in White v. Ultramar, 21 Cal.4th 563, fn. 1 (1999) on other grounds.
  26          The manager's privilege is a doctrine that bars lawsuits by a terminated employee
  27 against a supervisor for an intentional interference with a contractual relationship. The
  28 rationale is that "a manager who fires an employee cannot be 'held liable for inducing


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   1 the breach, for their action was that of the corporation itself."' Hernandez v.Ignite Rest.
   2 Grp., Inc., 917 F. Supp. 2d 1086, 1090 (E.D. Cal. 2013). In other words, there has to be
   3 interference with the contract by a third party.
   4         Hernandez went on to explain that the manager's privilege does not apply to
   5 claims of intentional infliction of emotional distress. I d. at p. 1091 citing Webber v. Nike
   6 USA, Inc., 2012 WL 4845549, at *4 (S.D.Cal. Oct. 9, 2012) (holding that, under
   7 California law, a tort of intentional infliction of emotional distress is outside the scope
   8 ofthe manager's privilege)
   9         The case relied upon by Defendant's in their Removal papers, McCabe v. General
  10 Foods Corp., 811 F.2d 1336 (91h Cir. 1987) "was rejected" by Hernandez. Davis v.
  11   Wal-Mart Stores Inc., No. 216CV9480JFWAJWX, 20 17 WL 499595, at *4 (C.D. Cal.
  12 Feb. 6, 2017); See also Sanchez v. Lane Bryant, Inc., 123 F.Supp.3d at 1246; Calero v.
  13   Unisys Corp., 271 F.Supp.2d at 1180 (granting remand where defendants failed to prove
  14 that the manager's privilege applied to intentional infliction of emotional distress claim
  15 against manager).
  16         Calero explained, "It is certainly questionable whether a managerial privilege
  17 could be assetied where the employer's or its agent's or employee's conduct is sufficiently
  18 egregious so as to constitute outrageous conduct. .. . Since defendants have the burden
  19 of establishing that they are entitled to removal and since they have failed to convince
  20 this court that a state court will find that the manager's privilege applies in this action,
  21   and since all questions of fact, of which there are many, must be resolved in plaintiffs
  22 favor, it is clear that this action must be remanded." Calero v. Unisys Corp., 271 F.
  23   Supp. 2d at 1180.
  24         Hernandez also distinguished another case relied upon by the Defendants,
  25 Kacludis v. GTE Sprint Communications Corp., 806 F .Supp. 866, 872 (N.D. Cal. 1992).
  26 Hernandez observed that, "[t]he Kacludis court, without any substantive analysis,
  27 concluded that the plaintiffs defamation claim against a supervisor who fired the
  28 plaintiff was within the scope of the manager's privilege under California law." It went


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   1 on to note that "there are numerous cases from both California state courts and district
   2 courts refusing to apply the manager's privilege outside the scope of claims for
   3 intentional interference with contractual relationship." Hernandez v. Ignite Rest. Grp.,
   4 Inc., 917 F. Supp. 2d at1091.
   5         Kacludis was expressly distinguished in May v. Semblant, Inc., No.
   6 5:13-CV-01576-EJD, 2013 WL 5423614, at *4 (N.D. Cal. Sept. 27, 2013). The Court
   7 explained, "The manager's privilege protects corporate agents and employees acting for
   8 and on behalf of a corporation from liability for inducing a breach of a corporation's
   9 contract. ... Plaintiffs first cause of action is not for breach of contract, and Plaintiff
  10 does not assert a claim that Semblant induced a breach of its own contract. Thus, the
  11   manager's privilege from the Shoemaker line of cases does not apply here." Ibid.
  12 (Emphasis Added.)
  13         Likewise, the Los Angeles Airway v. Davis, 687 F.2.d 321,328 cited by Defense
  14 was not an employment case. It was a claim for inducing a breach of contract between
  15 an attorney and business advisor.
  16         Clearly, there is no managerial privilege exempting Mr. Burley from a claim for
  17 Intentional Infliction of Emotional Distress.
  18         Moreover, it is axiomatic that discriminatory or harassing conduct give rise to a
  19 claim for intentional infliction of emotional distress. Gantt v. Sentry Ins., 1 Cal.4th
  20   1083, 1085 (1992); Cabesuela v. Browning-Ferris Indus., 68 Cal.App.4th 101, 112
  21   (1998) (fired for health and safety complaints); Kovatch v. California Cas. Mgmt. Co.,
  22 65 Cal.App.4th 1256, 1277 (1998) (sexual orientation discrimination); Fisher v. San
  23 Pedro Peninsula Hasp. 214 Cal.App.3d 590, 618 ( 1989) (sexual harassment allegations
  24 held outrageous); R-ulon-Millerv. IBM Corp. 162 Cal.App.3d 241,254 (1984) (violation
  25   ofprivacy).
  26         Further, the Comis have held that the conduct does not have to involve harassment
  27   or discrimination. Rather, the manner in which an employee was terminated has been
  28 held sufficient to sustain a claim for intentional infliction of emotional distress. Rulon-


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   1 Millerv. IBM Corp., 162 Cal.App.3d 241,254 (1984) (wrongful termination and privacy
   2 violation held outrageous); Huberv. Standard Ins. Co., 841 F.2d 980,987 (9111 Cir. 1988)
   3 (plaintiff terminated without notice, age 50, and asked to vacate premises in one day held
   4 outrageous); Wallis v. Superior Court, 160 Cal.App.3d 1109, 1120 (1984) (defendant
   5 intentionally abused its financial control over plaintiff by terminating payments without
   6 good cause and lying about reasons for termination held outrageous).
   7         Here, Ms. Woodrum was escorted offthe premises ofDefendant. After attempting
   8 to return to work with restrictions provided by a physician, Mr. Burley turned the tables
   9 on Ms. Woodrum taking the position she could not return to work. Respectfully, this
  10 conduct could suffice as a basis for an Intentional Infliction ofEmotional Distress Claim.
  11   VII. Conclusion.
  12         Ms. Woodrum has alleged three legally viable claims against Mr. Burley: Th cause
  13   of action for Disability Harassment, 91h cause of action for Defamation and 101h cause of
  14 action for Intentional Infliction of Emotional Distress. Each is an independent basis for
  15 Remand.
  16         As such, Plaintiff respectfully requests that this Motion for Remand be granted.
  17
  18 Dated: January 19,2018                    THE RAGER LAW FIRM
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  21                                     By:
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